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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v.-                                                 :     S6 15-cr-379 (PKC)
                                                                       :
GEOVANNY FUENTES RAMIREZ,                                              :          ORDER
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- X

CASTEL, U.S.D.J.

                 The conference in this matter scheduled for 11:00 a.m. on November 13, 2020 is

rescheduled to 9:00 a.m. on November 13, 2020 and will take place as a telephone conference.

As requested, defense counsel will be given an opportunity to speak with defendant by telephone

for fifteen minutes before the proceeding begins (i.e., at 8:45 a.m.). Defense counsel should

make sure to answer a call received at the telephone number, which was previously provided to

Chambers, at that time in order to confer with defendant. Chambers will provide defense

counsel with a telephone number for the interpreter who will be available at the time of the pre-

conference. However, it is defense counsel’s responsibility to conference the interpreter in with

defendant for the pre-conference conferral.

                 The dial-in information for the proceeding is as follows:

                 Phone Number:              888-363-4749

                 Access Code:               3667981

Members of the press and public may access this proceeding with the same information but will

not be permitted to speak during the teleconference.
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              On the teleconference, counsel should adhere to the following rules and

guidelines during the proceeding:

           1. Counsel should use a landline whenever possible, should use a headset instead of a
              speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated
              systems that do not allow the user to know when someone else is trying to speak at
              the same time.

           2. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel should
              spell any proper names for the court reporter. Counsel should also take special care
              not to interrupt or speak over one another.

           3. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the
              new participant and confirm that the court reporter has not been dropped from the
              call.

       SO ORDERED.




Dated: November 2, 2020
       New York, New York




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